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                                                                                     Case No. 21-30725


                                                                                         PX333
                                                                                   Adv. Proc. No. 21-03863
To: Operations

Sent: Sat, Feb 13, 2021   09:53 AM

Subject: M-A021321-01     Notice of Railroad Commission of Texas Action on Operation
of Gas Utility Systems


NOTICE DATE: February 13, 2021

NOTICE TYPE: M-A021321-01            Operations

SHORT     DESCRIPTION:      Notice of Railroad Commission    of Texas Action on
Operation of Gas Utility Systems

INTENDED AUDIENCE: QSEs representing Natural Gas Resources and Resource
Entities with Potential Natural Gas Availability Issues

DAYS AFFECTED:        February 12, 2021 — February 19, 2021

LONG DESCRIPTION: Yesterday evening, the Railroad Commission of Texas
(Railroad Commission) held an emergency meeting to consider a reasonably
unforeseen situation, namely the winter weather storm impacting the State of Texas.
The Railroad Commission issued an emergency order temporarily modifying current
natural gas utility curtailment priorities to ensure the protection of human needs
customers — such action included elevating deliveries of gas to electric generation
facilities to a higher priority. The Emergency Order is attached herein and a
statement on the action is located at https://www.rrc.state.tx.us/news/021221-rrc-
emergency-order/.

ERCOT provides this Notice for       public awareness. ERCOT encourages Qualified
Scheduling Entities (QSEs) with       natural gas Resources or Resource Entities with
potential natural gas availability   issues read the Emergency Order and contact their
appropriate gas utility providers    for assistance.

CONTACT:     If you have any questions, please contact your ERCOT Account
Manager. You may also call the general ERCOT Client Services phone number at
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Attachment:

Emergency Order 021221 FINAL Signed.pdf (Feb 13, 2021 — pdf)




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